
Swing, J.
The plaintiffs are not entitled to the relief prayed for in their petition.
The case does not come within the principles decided in the case of Batsche v. The City, (33 W. L. B., 82). There is no widening of the street here, as in that case. What was done there was for the purpose of improving the street, and the easement obtained in the adjoining premises outside the limits of the street, was not for the purpose of widening the street, but for the purpose of getting an easement in the grotind to support the fill for the street, which it was -necessary to have in order to make the improvement. The same result could have been obtained by making solid masonry *632walls, brt the expense would have been much greater to the property owners, and the improvement would not have been so satisfactory.
JT. C. Ampt, for plaintiffs.
Wm. H. Whittaker, for city.
